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 5   Attorney for Defendant, LORENA VELASQUEZ

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 7

 8                               UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       )   Case No.: 1:16-CR-00009 DAD/BAM
                                                     )
12                                                   )
                           Plaintiff,                    STIPULATION TO CONTINUE
                                                     )   HEARING ON MOTION TO ADMIT
13                                                   )   EVIDENCE REGARDING DEFENSE OF
     vs.                                             )   DURESS BASED ON BATTERED
14                                                   )   WOMAN’S SYNDROME
     LORENA VELASQUEZ, et al.                        )
15                                                   )
                  Defendants.                        )   DATE:         September 3, 2019
16                                                   )   TIME:         10:00 a.m.
                                                     )   JUDGE:        Hon. Dale Drozd
17

18          It is hereby stipulated by and between McGregor Scott, United States Attorney and
19   Kathleen Servatius, Assistant U.S. Attorney and Dale Blickenstaff, Attorney for Defendant,
20   Lorena Velasaquez, and James Homola, Attorney for Defendant Melissa Velasquez, that the
21   hearing date of September 3, 2019, at 10:00 a.m. before the Honorable Dale Drozd be continued
22   to January 27, 2019, at 10:00 a.m.
23          The trial of the above matter has been continued to March 17, 2020 at 1:00 p.m., with trial
24   confirmation on February 24, 2020 at 10:00 a.m. The reason for the continuance of the trial was
25   to allow sufficient time for the government to obtain an expert witness, arrange for the expert to
26   examine the defendants, and then evaluate the viability of the legal defense. There would not be
27   sufficient time for the government to accomplish those tasks before the hearing date currently set.
28   ///


     STIPULATION TO CONTINUE HEARING ON MOTION TO ADMIT EVIDENCE REGARDING DEFENSE
                     OF DURESS BASED ON BATTERED WOMAN’S SYNDROME
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           Case 1:16-cr-00009-DAD-BAM Document 153 Filed 08/27/19 Page 2 of 2


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 2   Dated: August 27, 2019               Respectfully submitted,
 3
                                          By /s/ James Homola
 4                                        JAMES HOMOLA, Attorney for Defendant Melissa
 5
                                          Velasquez

 6
                                          By /s/ Kathleen Servatius
 7                                        KATHLEEN SERVATIUS, AUSA

 8
                                          By /s/ Dale A. Blickenstaff ___________
 9                                        DALE A BLICKENSTAFF, Attorney for
                                          Defendant, LORENA VELASQUEZ
10

11

12
                                                 ORDER
13

14          The Court has reviewed and considered the stipulation of the parties to continue the hearing
15   in this case. Good Cause appearing, the hearing is as to Lorena Velasquez and Melissa Velasquez
16   currently set for September 3, 2019, is continued to January 27, 2020, at 10:00 a.m.
17
            IT IS SO ORDERED.
18
                           Dated:     August 27, 2019
19
                                                       UNITED STATES DISTRICT JUDGE
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     STIPULATION TO CONTINUE HEARING ON MOTION TO ADMIT EVIDENCE REGARDING DEFENSE
                     OF DURESS BASED ON BATTERED WOMAN’S SYNDROME
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